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                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA onic jm| 25 PH 2* W
                                 JACKSONVILLE DIVISION

                                                                              JmUSCH . U. Jl.rLORlDA^
Shani Hemcon                                     Case No.                               ^

         Plaintiff,
                                                       3.\5-cv-^-j-
V.                                                  COMPLAINT FOR DAMAGES
                                                 UNDER THE FAIR DEBT COLLECTION
Medicredit, Inc.                                  PRACTICES ACT, THE TELEPHONE
                                                  CONSUMER PROTECTION ACT, THE
         Defendant.                                FLORIDA CONSUMER COLLECTION
                                                       PRACTICES ACT AND OTHER
                                                             EQUITABLE RELIEF


                                                   JURY DEMAND ENDORSED HEREIN


                                             PARTIES


1. Plaintiff, Shani Hemcon, ("Shani"), is a natural person who resided in Jacksonville, Florida,

     at all times relevant to this action.


2. Defendant, Medicredit, Inc., ("Medicredit"), is a Missouri Corporation that maintained its

     principal place of business in Columbia, Missouri, at all times relevant to this action.

                                   JURISDICTION AND VENUE


3. Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

     arises under the Fair Debt Collection Practices Act ("FDCPA"), 15 U.S.C. §1692 et seq. and

     the Telephone Consumer Protection Act, 47 U.S.C. § 227.

4. Pursuant to 28 U.S.C. §1367(a), this Court has supplemental jurisdiction over Plaintiffs

     claims under the Florida Consumer Collection Practices Act, Fla. Stat. ("FCCPA"), § 559.55,

     et seq., because those claims share a common nucleus of operative facts with Plaintiffs

     claims under the FDCPA. See LeBlanc v. Unifund CCR Partners^ 601 F.3d 1185 (11th Cir.
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   2010) ("[FCCPA's] remedies are 'cumulative to other sanctions and enforcement provisions'

   for any violation by an out-of-state consumer debt collector.").

5. Pursuant to 28 U.S.C. §1391(b), venue is proper because a substantial part of the events

   giving rise to this claim occurred in this judicial district.

                                      STATEMENT OF FACTS


6. Medicredit uses a predictive dialer system.

7. Before Medicredit began contacting Shani, it and Shani had no prior business relationship

   and Shani had never provided express consent to Medicredit to be contacted on her cellular

   telephone.

8. Medicredit regularly uses instrumentalities of interstate commerce and the mails to collect

   consumer debts owed or due or asserted to be owed or due another.


9. The principal source of Medicredit's revenue is debt collection.

10. Medicredit is a "debt collector" as defined by 15 U.S.C. §1692a(6).

11. As described, infra, Medicredit contacted Shani to collect a debt that was incurred primarily

   for personal, family, or household purposes.

12. This alleged obligation is a "debt" as defined by 15 U.S.C. §1692a(5).

13. Shani is a "consumer" as defined by 15 U.S.C. §1692a(3).

14. On several occasions, the dates of which will be discovered through discovery, Medicredit


   willingly and knowingly used an automatic telephone dialing system to call Shani on her

   cellular phone multiple times in violation of the TCPA.

15. Around May 2014, Medicredit contacted Shani on Shani's cellular phone in connection with

   the collection of the debt.


16. Around May 2014, Shani communicated her desire that Medicredit cease calling her.
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17. Despite being notified of this desire, Medicredit continued to call Shani on Shani's cellular

   phone in connection with the collection of the debt.

18. Medicredit caused Shani emotional distress.

19. Medicredit attempted to collect a debt from Shani.

                                          COUNT ONE


                        Violation of the Fair Debt Collection Practices Act


20. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 19 above as if fully

   set forth herein.


21. Defendant violated 15 U.S.C. §1692c(a)(l) by calling Plaintiff at a time or place known to be

   inconvenient for Plaintiff.

                                          COUNT TWO


                        Violation of the Fair Debt Collection Practices Act

22. Plaintiffre-alleges and incorporates by reference Paragraphs 15 through 19 above as if fully

   set forth herein.


23. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

   which is to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.

                                        COUNT THREE


                        Violation of the Fair Debt Collection Practices Act

24. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 19 above as if fully

    set forth herein.


25. Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable means to collect the

    debt.
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                                                COUNT FOUR


                       Violations of the Telephone Consumer Protection Act

26. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 19 above as if fully

   set forth herein.


27. Defendant willingly and knowingly violated 47 U.S.C. § 227(b)(1)(A) on multiple and

   separate occasions by each time calling Plaintiffs cellular telephone using both an automatic

   telephone dialing system without Plaintiffs prior express consent.

                                           COUNT FIVE


                   Violations of the Florida Consumer Collection Practices Act


28. Plaintiff re-alleges and incorporates by reference Paragraphs 15 through 19 above as if fully

   set forth herein.


29. Defendant is a "debt collector" as that term is defined in the FCCPA, Fla. Stat. § 559.55(7).

30. Plaintiff is a "consumer" as defined by the FCCPA and is a person whom the act was

   intended to protect, FCCPA, Fla. Stat. § 559.55(2).

31. Defendant attempted to collect a "debt" within the meaning of FCCPA, Fla. Stat.

    § 559.55(1).

32. Defendantwillingly and knowingly violated Fla. Stat. § 559.72(7) by communicating with

    Plaintiff with such frequency as can reasonably be expected to harass Plaintiff or engaging in

    other conduct which can reasonably be expected to abuse or harass Plaintiff.

                                          JURY DEMAND


33. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF


34. Plaintiff prays for the following relief:
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          a. Judgment against Defendant for actual damages, statutory damages, and costs and

              reasonable attorney's fees pursuant to 15 U.S.C. §1692k.

          b. An order enjoining Defendant from placing further telephone calls to Plaintiffs

              cellular telephone number pursuant to 47 U.S.C. § 227(b)(3).

          c. Judgment against Defendant for statutory damages pursuant to 47 U.S.C. §

              227(b)(3) for each and every call Defendant made in violation of the TCPA.

          d. Judgment against Defendant for actual damages, statutory damages, costs and

              reasonable attorney's fees, plus punitive damages pursuant to Fla. Stat. § 559,77.

          e. For such other legal and/or equitable relief as the Court deems appropriate.



                                            RESPECTFULLY SUBMITTED,


                                            By:     /s/ H. Karen Gatto
                                            One of Plaintiff s Attorneys

                                            OfCounsel
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